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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

                    JOSETTA MUNROE                               )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 24-cv-3489
                                                                 )
HMC DENTAL, P.C., MARCIA SERRANO, GUSTAVO                        )
  VELA, ANABEL URENA, JAMIE RANIERI, and                         )
            JEFFREY G. REAGAN                                    )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) HMC Dental, P.C.              Marcia Serrano                  Gustavo Vela
                                       311 West 43rd St, Ste 405 7514 168th St                   206 Nassau Blvd Apt 1
                                       New York, NY 10036        Fresh Meadows, NY 11366         Garden City, NY 11530

                                       Anabel Urena        Jamie Ranieri                 Jeffrey G. Reagan
                                       808 Vincent Ave     156 Franklin Pl               311 West 43rd St, Suite 405
                                       Bronx, NY 10465     Roselle Park, NJ 07204        New York, NY 10036

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                           CLERK OF COURT


Date:    05/14/2024
                                                                                      Signature of Clerk or Depu
                                                                                                            Deputy Clerk
